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 6 BYTON NORTH AMERICA CORPORATION

 7

 8                             UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                SAN FRANCISCO DIVISION
11

12
     EDAG ENGINEERING GMBH,                   Case No. 3:21-cv-04736-EMC
13
                Petitioner,                   [Honorable Edward M. Chen]
14
          vs.
15                                            RESPONDENT BYTON NORTH
16 BYTON NORTH AMERICA                        AMERICA CORPORATION’S NOTICE
   CORPORATION,                               OF MOTION AND MOTION TO
17                                            VACATE THE ARBITRATOR’S
            Respondent.                       NOVEMBER 8, 2021 PRELIMINARY
18                                            INJUNCTION ORDER [DOCKET ENTRY
                                              25]; MEMORANDUM OF POINTS AND
19                                            AUTHORITIES IN SUPPORT THEREOF
20
                                              [SUPPORTING DECLARATION OF
21                                            KEITH A. SIPPRELLE AND PROPOSED
                                              ORDER SUBMITTED CONCURRENTLY
22                                            HEREWITH]
23

24                                            Date: June 30, 2022
                                              Time: 1:30 p.m.
25                                            Courtroom: 5
26

27

28
           BYTON NORTH AMERICA CORPORATION’S MOTION TO VACATE THE
          ARBITRATOR’S NOVEMBER 8, 2021 PRELIMINARY INJUNCTION ORDER
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2        I.    FACTUAL BACKGROUND AND PROCEDURAL HISTORY. 1

 3        A. The Arbitration Proceeding.

 4        The underlying arbitration proceeding was commenced on October 22, 2019 by Petitioner

 5 EDAG Engineering GmbH (“EDAG”) submitting a Demand for Arbitration (“Demand”) to

 6 JAMS. The Demand asserted claims against Byton NA for breach of contract and breach of the

 7 covenant of good faith and fair dealing premised upon Byton NA’s purported failure to pay EDAG

 8 amounts allegedly owed pursuant to the terms of the parties’ Technology Development and

 9 License Agreement (the “TDLA”). 2 The Demand sought a money recovery from Byton NA of at
10 least $28.5 million, but made no claim relating to the ownership of any work product or

11 intellectual property developed by EDAG for Byton NA. (Sipprelle Declaration at ¶ 2, and

12 Exhibit “1” to the Sipprelle Declaration at page 3.)

13        On November 19, 2019, Byton NA submitted a response to the Demand, and also asserted
14 counterclaims against EDAG for breach of contract and negligence. Byton NA’s response and

15 counterclaims made no reference to the ownership of any work product or intellectual property

16 developed by EDAG for Byton NA pursuant to the TDLA. (Sipprelle Declaration at ¶ 3, and

17 Exhibit “2” to the Sipprelle Declaration.)

18        On December 16, 2019, EDAG submitted a response and affirmative defenses to Byton
19 NA’s cross-claims. EDAG’s response made no reference to the ownership of any work product or

20 intellectual property developed by EDAG for Byton NA pursuant to the TDLA. (Sipprelle

21 Declaration at ¶ 4, and Exhibit “3” to the Sipprelle Declaration.)

22        Subsequently, Judge William J. Cahill (Ret.) of JAMS was appointed as arbitrator in this
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25          Unless otherwise indicated, the factual statements in this Memorandum are supported by
   the Declaration of Keith A. Sipprelle submitted concurrently herewith (“Sipprelle Declaration”),
26 including the exhibits thereto, and matters in the Court record. The exhibits referenced in this
   Memorandum are the exhibits to the Sipprelle Declaration, unless otherwise indicated.
27        2
            The Demand is attached as Exhibit “1” to Sipprelle Declaration. The TDLA is attached
28 as Exhibit “A” to the Demand.
                                                      1
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 1 matter (the “Arbitrator”), in accordance with paragraph 14.4b of the TDLA. (Sipprelle

 2 Declaration at ¶ 5.) 3

 3        Under the TDLA and the operative jointly-drafted arbitration Scheduling Order issued by

 4 the Arbitrator, California law and the California Arbitration Act applied to the arbitration

 5 proceeding. (See paragraph 14.4a of the TDLA. See also Arbitration Scheduling Order No. 7

 6 (Exhibit “4” to the Sipprelle Declaration, at paragraph 6.)

 7        The case was tried to the Arbitrator between February 8 and 19, 2021. (Sipprelle

 8 Declaration at ¶ 7; Exhibit “5” to the Sipprelle Declaration, at p. 1.) The Final Arbitration Award

 9 was issued on June 2, 2021 and served on the parties on June 3, 2021. (Exhibit “5” to the
10 Sipprelle Declaration, pp. 28, 29.) The Final Arbitration Award addressed and resolved all issues

11 raised by the parties in their pleadings and otherwise. 4 The Final Arbitration Award made no

12 findings regarding (or even mention of) the ownership of any intellectual property developed by

13 EDAG for Byton NA pursuant to the TDLA. (See Exhibit “5.”) This was hardly surprising, as the

14 ownership of the work product created by EDAG for Byton NA was not raised by the pleadings

15 (see Exhibits “1,” “2” and “3”), and no evidence or argument was presented during the course of

16 the arbitration hearing in February 2021 regarding the ownership of this work product. (Sipprelle

17 Declaration at ¶ 7.)

18        On June 23, 2021, EDAG filed a petition to confirm the Final Arbitration Award in the

19 United States District Court for the Northern District of California. (Docket Entry (“DE”) 1.)

20        B. EDAG’s Motion For Issuance Of A Preliminary Injunction.

21        On Sept 24, 2021, more than 3 months after the issuance of the Final Arbitration Award, and

22 with EDAG’s petition to confirm the Final Arbitration Award pending before this Court, EDAG

23 filed a Motion with the Arbitrator seeking the issuance of a Preliminary Injunction against Byton

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25          3
             See also p. 2, ¶ 1 of the Final Arbitration Award, which is attached as Exhibit “5” to the
26 Sipprelle Declaration. The Final Arbitration Award is also Docket Entry (“DE”) 10-4 in this
   action.
27         4
             See Exhibit “5” at p. 2, ¶ 2: “The Arbitrator has considered all pleadings, testimony, and
28 exhibits and makes the following findings of facts and law.” (Emphasis supplied.)
                                                       2
             BYTON NORTH AMERICA CORPORATION’S MOTION TO VACATE THE
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 1 NA. 5 EDAG’s Motion for Preliminary Injunction was premised on a new and unadjudicated

 2 claim that the work product/intellectual property that EDAG had created for Byton and for which

 3 Byton had paid EDAG approximately €27 million (more than 50% of the contract price), belonged

 4 entirely to EDAG because Byton had failed to pay EDAG the full amount owed under the TDLA.

 5 On the basis of this new contract-based claim, EDAG sought a preliminary injunction to preclude

 6 Byton from transferring (or even accessing) this work product. EDAG also sought a general

 7 “freeze” on Byton’s other assets up the amount of the arbitration award premised upon the claim

 8 that Byton NA was improperly transferring EDAG intellectual property to China. (Sipprelle

 9 Declaration at ¶ 10; DE 27-6.)
10        On October 29, 2021, while the Motion for Preliminary Injunction was still pending with the
11 Arbitrator, EDAG filed a Motion with this Court to confirm the Arbitrator’s June 2, 2021 Final

12 Arbitration Award and Enter Judgment on the Award. (Sipprelle Declaration at ¶ 11; DE 19.)

13        On November 8, 2021, the Arbitrator served a ruling granting EDAG’s Motion for
14 Preliminary Injunction. (Sipprelle Declaration at ¶ 12; Exhibit “6.”) EDAG filed a notice of the

15 Arbitrator’s ruling with this Court on November 8, 2021. (DE 25.) 6 The central finding

16 supporting the Arbitrator’s November 8, 2021 Preliminary Injunction was that EDAG purportedly

17 owns the work product/intellectual property developed by EDAG for Byton NA pursuant to the

18 TDLA (and for which Byton NA paid EDAG approximately €27 million of the €50 contract

19 price). (Sipprelle Declaration at ¶ 12.) The following passages from the Arbitrator’s November 8,

20 2021 ruling make this clear:

21      • Under the TDLA, “BYTON may only to [sic] receive intellectual property rights by
22        paying EDAG. BYTON now has access to intellectual property it does not own, and for

23        which it has not paid.” (Exhibit “6” at p. 4.)

24

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            5
26            Sipprelle Declaration at ¶ 10. EDAG’s Memorandum of Points and Authorities in
     support of its Motion for Preliminary Injunction is found at DE 27-6.
27          6
            The Arbitrator’s Preliminary Injunction ruling was signed on November 7, 2021, but
28 served by the Arbitrator on the parties on November 8, 2021. See DE 25.
                                                   3
            BYTON NORTH AMERICA CORPORATION’S MOTION TO VACATE THE
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 1      • “BYTON has no right to the intellectual property in question, because BYTON breached its
 2          obligation to pay EDAG for it.” (Exhibit “6” at pp. 5-6.)

 3      • “BYTON’s unauthorized access and transfer of EDAG's property constitutes a form of
 4          trespass, for which there is no adequate monetary compensation.” (Exhibit “6” at p. 6.)

 5      • “BYTON has no protectable interest in being permitted to misappropriate EDAG’s
 6          intellectual property.” (Exhibit “6” at p. 7.)

 7         The Arbitrator’s central finding in his ruling of November 8, 2021 that EDAG rather than

 8 Byton owns 100% of the work product that EDAG created for Byton NA and for which Byton NA

 9 paid EDAG more than 50% of the contract price was an entirely new, different and highly
10 significant finding relating to the interpretation and the parties’ performance under the TDLA that

11 was neither framed by the arbitration pleadings, a subject of the nine-day Arbitration hearing in

12 February 2021, or referenced in the June 2, 2021 Final Arbitration Award. This significant new

13 and different substantive finding, which is based on an interpretation of paragraph 6.2 of the

14 TDLA and the parties’ performance thereunder, was in effect a significant substantive

15 modification of the Arbitrator’s Final Award issued on June 2, 2021.

16          Following the issuance of the Arbitrator’s November 8, 2021 preliminary injunction order,
17 EDAG sought to incorporate the Arbitrator’s ruling into this Court’s order and judgment

18 confirming the June 2, 2021 Final Arbitration Award. (See, e.g., Docket Entries 26, 31-1.)

19 However, this Court rebuffed EDAG’s effort, ruling that the Arbitrator’s November 8, 2021

20 preliminary injunction order would need to be separately confirmed. 7 On December 13, 2021, this

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            7
                See this Court’s Order of January 13, 2022 (DE 89), at page 2 of 7:
23
        “On November 8, 2021, the arbitrator granted a preliminary injunction enjoining BNA from
24      transferring its assets and accessing or transferring any intellectual property EDAG created
        during the contract. Docket No. 35. The arbitrator found that the contract requires BNA to pay
25      EDAG for its services and that BNA’s failure to pay EDAG resulted in BNA’s “access to
        intellectual property it does not own.” Id. at 3–4. On December 13, 2021, this Court granted
26      EDAG’s motion to confirm the final arbitration award but rejected EDAG’s attempts to
27      incorporate the preliminary injunction findings into the confirmation order. Docket No. 49.
        The Court determined the injunction order had to be confirmed as a separate order.
28      (Emphasis supplied.)
                                                        4
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 1 Court entered an Order confirming the June 2, 2021 Final Arbitration Award and entered

 2 judgment thereon. The Court’s December 13, 2021 Order/Judgment did not incorporate (or make

 3 any reference to) the Arbitrator’s November 8, 2021 preliminary injunction order. (DE 49.)

 4        Byton NA now respectfully requests that the Court vacate the Arbitrator’s preliminary

 5 injunction ruling of November 8, 2021 pursuant to 9 USC § 10(a)(4)) on the basis that: (1) the

 6 Arbitrator exceeded his powers in issuing his Order of November 8, 2021, as the Arbitrator was

 7 without jurisdiction to make substantive new findings and issue rulings thereon more than three

 8 months after the issuance of the Final Arbitration Award on June 2, 2021; 8 and (2) the preliminary

 9 injunction ruling is moot, as this Court entered judgment on the Final Arbitration Award on
10 December 13, 2021, and Byton NA’s deadline to appeal the judgment has expired.

11        II.     THE ARBITRATOR’S NOVEMBER 8, 2021 PRELIMINARY INJUNCTION

12                ORDER IS UNENFORCEABLE UNLESS AND UNTIL IT IS CONFIRMED

13                BY THIS COURT; THE ARBITRATOR’S ORDER MAY BE VACATED BY

14                THIS COURT UNDER 9 U.S.C. §§ 9 AND 10.

15        Preliminary injunctions by arbitrators are awards subject to confirmation of the courts, and

16 such arbitration awards must be confirmed to be enforceable. Berland v. Conclave, LLC, No. 20-

17 CV-00922-H-WVG, 2021 WL 461727, at *5–6 (S.D. Cal. Feb. 9, 2021) (“[T]emporary equitable

18 orders calculated to preserve assets or performance needed to make a potential final award

19 meaningful . . . are final orders that can be reviewed for confirmation and enforcement by district

20 courts under the FAA.”); 9 U.S.C.A. § 13; Wireless Warehouse, Inc. v. Boost Mobile, LLC, No.

21 SACV 09-1436-MLG, 2011 WL 92984, at *4 (C.D. Cal. Jan. 11, 2011), aff'd, 479 F. App'x 58

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            8
24            Under 9 U.S.C. § 12, Byton NA has 3 months from November 8, 2021 in which to
     challenge the Arbitrator’s Order by way of a motion to vacate, modify, or correct the award.
25   Under Federal Rules of Civil Procedure 6(a)(1), calculation of the three month period begins on
     November 9, 2021 (the day after the Arbitrator’s ruling was delivered). Three months from
26   November 9, 2021 is February 6, 2022. However, because February 6, 2022 is a Sunday, Byton
27   NA’s deadline to file this Motion rolls over to Monday, February 7, 2022 pursuant to Federal
     Rules of Civil Procedure 6(a)(1)(C). Thus, Byton NA’s Motion is timely. See Stevens v. Jiffy
28   Lube Int'l, Inc. (9th Cir., 2018) 911 F.3d 1249, 1252.
                                                       5
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 1 (9th Cir. 2012) (quoting Camping Constr. Co. v. Dist. Council of Iron Workers, 915 F.2d 1333,

 2 1347–48 (9th Cir.1990) (“Arbitration awards are not self-enforcing; and unless an award

 3 persuades the party contesting the arbitrator’s authority to comply voluntarily with its terms, it will

 4 have no binding effect on either party until it is confirmed in court.”))

 5         9 U.S.C. § 9 provides in relevant part as follows:

 6          If the parties in their agreement have agreed that a judgment of the court shall be
            entered upon the award made pursuant to the arbitration, and shall specify the
 7          court, then at any time within one year after the award is made any party to the
            arbitration may apply to the court so specified for an order confirming the award,
 8
            and thereupon the court must grant such an order unless the award is vacated,
 9          modified, or corrected as prescribed in sections 10 and 11 of this title.

10 (Emphasis supplied.)

11         9 U.S.C. § 10 provides in relevant part as follows:
12          (a) In any of the following cases the United States court in and for the district
            wherein the award was made may make an order vacating the award upon the
13          application of any party to the arbitration--
14
                  (4) where the arbitrators exceeded their powers, . . ..
15
     (Emphasis supplied.)
16
           III.    THE ARBITRATOR’S NOVEMBER 8, 2021 PRELIMINARY INJUCTION
17
                   RULING SHOULD BE VACATED.
18
           The Arbitrator’s November 8, 2021 preliminary injunction order is premised upon a
19
     substantive finding relating to the interpretation and the parties’ performance under the TDLA that
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     was not framed by the arbitration pleadings, was not a subject of the nine-day Arbitration hearing
21
     in February 2021, and is not referenced in the Arbitrator’s Final Award of June 2, 2021. This
22
     significant new and different substantive finding (that EDAG owns 100% of the work
23
     product/intellectual property developed by EDAG for Byton NA pursuant to the TDLA, and for
24
     which Byton NA paid EDAG approximately €27 million of the €50 contract price), essentially
25
     constitutes a substantive modification of the Arbitrator’s Final Award by resolving an “arbitrable
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     claim” that was not presented or adjudicated prior to entry of the June 2, 2021 Final Arbitration
27
     Award (as distinguished from a mere subsidiary determination of the claims that were resolved in
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                                            6
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 1 the June 2, 2021 Final Award). See Fradella v. Petricca (1st Cir. 1999) 183 F.3d 17, 19. As the

 2 First Circuit explained in Eastern Seaboard Construction Co., Inc. v. Gray Construction, Inc. (1st

 3 Cir. 2008) 553 F.3d 1, “[o]ur cases still tend to differentiate between a second award which is

 4 ‘fundamentally inconsistent with the first award’ and one which ‘simply flesh[es] out the remedy

 5 announced initially.” Id. at 4. Thus, the Eastern Seaboard Court found that Rule 47 of the AAA

 6 Construction Industry Arbitration Rules permitted the arbitrator to modify the initial omission of a

 7 $ 66,613.89 because doing so was “the type of ‘clerical, typographical, technical or computational

 8 error’” which AAA Rule 47 permitted the Arbitrator to amend or clarify. The amendment did not

 9 reopen the merits of the case. Rather, it clarified a latent ambiguity.” Id. at 6.
10        Here, the Arbitrator’s finding in his November 8, 2021 ruling that EDAG owns 100% of the

11 work product/intellectual property developed by EDAG for Byton NA pursuant to the TDLA was

12 not a mere “subsidiary” determination of the claims that were resolved in the June 2, 2021 Final

13 Award, nor was this determination simply the correction of a clerical, typographical, technical or

14 computational error made in the June 2, 2021 Final Arbitration Award. Instead, the finding in the

15 Arbitrator’s November 8, 2021 ruling that EDAG owns 100% of the work product/intellectual

16 property developed by EDAG for Byton NA pursuant to the TDLA was in effect a ruling on a

17 brand-new legal theory that had not been part of the arbitration proceedings up through and

18 including the issuance of the Final Arbitration Award on June 2, 2021. By making a finding and

19 issuing a ruling on a new substantive contract claim that could have been (but was not) presented

20 in the arbitration proceedings prior to the issuance of the Final Arbitration Award (e.g., by way of

21 a claim that Byton NA had trespassed upon and/or converted property owned by EDAG), the

22 Arbitrator effectively reopened the arbitration proceedings to address a substantive new claim.

23        At common law, the issuance of an arbitration award was treated as functus officio, an act

24 that terminates the actor’s authority.

25          It is [a] fundamental common law principle that once an arbitrator has made and
            published a final award his authority is exhausted and he is functus officio and can
26          do nothing more in regard to the subject matter of the arbitration. The policy which
            lies behind this is an unwillingness to permit one who is not a judicial officer and
27
            who acts informally and sporadically, to re-examine a final decision which he has
28          already rendered, because of the potential evil of outside communication and
                                                       7
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 1           unilateral influence which might affect a new conclusion.

 2 International Bhd. of Teamsters, Local 631 v. Silver State Disposal Serv. (9th Cir., 1997) 109 F.3d

 3 1409, 1411.

 4         The functus officio doctrine has been recognized and adopted in California. See, e.g.,
 5 Heimlich v. Shivji (2019) 7 Cal. 5th 350, 362-364; Moshonov v. Walsh (2000) 22 Cal. 4th 771,

 6 780, fn. 1. The functus officio doctrine comes into play once an arbitrator’s duties have been fully

 7 discharged. Heimlich v. Shivji, supra, 7 Cal. 5th at 364, fn. 5.

 8         The common law rule of functus officio is subject to legislative revision. Heimlich v. Shivji,
 9 supra, 7 Cal. 5th at 363. However, in deciding whether a statutory scheme alters or displaces the
10 common law, one must begin with the presumption that the Legislature did not so intend.

11 McMillin Albany LLC v. Superior Court (2018) 4 Cal.5th 241, 249.

12         The California Arbitration Act (California Code of Civil Procedure §§ 1280 –1294.2)
13 governed the arbitration between EDAG and Byton NA. (See Exhibit “4” to the Sipprelle

14 Declaration, at paragraph 6.) 9 Code of Civil Procedure 1284 expressly vests arbitrators with

15 continuing jurisdiction for a brief period following a final award: “The arbitrators, upon written

16 application of a party to the arbitration, may correct the award upon any of the grounds set forth in

17 subdivisions (a) and (c) of Section 1286.6 not later than 30 days after service of a signed copy of

18 the award on the applicant. [¶] Application for such correction shall be made not later than 10 days

19 after service of a signed copy of the award on the applicant.” (Emphasis supplied.) Section 1288.4

20 protects this arbitral jurisdiction; it bars parties from filing petitions in superior court to vacate or

21 confirm an award “until at least 10 days after service of the signed copy of the award on the

22 petitioner.” These provisions ensure that an arbitrator retains jurisdiction to modify an award for at

23 least 10 and as many as 30 days after its filing and service. If no application for correction is filed

24 within 10 days, jurisdiction expires and a petition to vacate or confirm may be filed in superior

25 court. If an application is filed, the arbitrator retains jurisdiction for up to 30 days after the award

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27           9
             However, whether California or federal law applies, the result is the same, as the functus
28 officio doctrine applies in both federal and California courts.
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             BYTON NORTH AMERICA CORPORATION’S MOTION TO VACATE THE
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 1 was filed. Section 1284. See Cooper v. Lavely & Singer Professional Corp. (2014) 230

 2 Cal.App.4th 1, 18 19.

 3        Here, the Final Arbitration Award was issued on June 2, 2021 and served on the parties on

 4 June 3, 2021. The Final Arbitration Award addressed and resolved all issues raised by the parties

 5 in their pleadings and otherwise. (Exhibit “5” to the Sipprelle Declaration, at p. 2, ¶ 2.) Under the

 6 functus officio doctrine (as modified by the California Legislature in the California Arbitration

 7 Act), the Arbitrator’s jurisdiction expired 10 days after service of a signed copy of the Final

 8 Arbitration Award (June 14, 2021), as no party made a timely application to correct the award. As

 9 such, the Arbitrator had no jurisdiction to make substantive new findings in his November 8, 2021
10 Preliminary Injunction Ruling that effectively reopened the arbitration and modified the Final

11 Arbitration Award. Because the November 8, 2021 Preliminary Injunction Ruling was premised

12 on a substantive new finding that the Arbitrator had no jurisdiction to make (relating to the

13 ownership of intellectual property), the ruling should be vacated by this Court 9 U.S.C. § 10(a)(4)

14 on the basis that the Arbitrator exceeded his powers in issuing the ruling.

15        Finally, the Arbitrator’s preliminary injunction order should be set aside on the additional
16 basis that it is moot. The purpose of a preliminary injunction is to preserve the status quo pending

17 a final adjudication on the merits. See, e.g., Cloud Peak Energy Inc. v. United States DOI (Dist.

18 Wyoming, 2019) 415 F. Supp. 3d 1034, 1044. If a final adjudication on the merits has been

19 rendered, a preliminary injunction is moot. Xtra Petroleum Transp., Inc. v. Brad Hall & Assocs.

20 (In (Bankr. D.N.M. 2012) 473 B.R. 430, 435. This Court entered judgment on the Final

21 Arbitration Award on December 13, 2021, and the time for Byton NA to appeal that judgment has

22 expired. Thus, the Arbitrator’s November 8, 2021 preliminary injunction order is moot.

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 1       IV.   CONCLUSION.

 2       For all of the foregoing reasons, Byton NA respectfully requests that this Motion be granted.
 3
                                             Respectfully Submitted,
 4

 5 Dated: February 6, 2022                   VAN ETTEN SIPPRELLE LLP
 6

 7                                           By:
                                                   Keith A. Sipprelle
 8                                                 Attorneys for Respondent
                                                   BYTON NORTH AMERICA CORPORATION
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